
*1379OPINION.
Siefkin:
The record convinces us that the so-called corporation, even if it existed as a de faeto corporation, had nothing with which to conduct a publishing business and did not, in fact, conduct such business so as to make the undoubted loss its loss rather than that of the petitioner. The publishing business was never turned over to it, formally or informally, and throughout the year 1920, except as the petitioner at times used its name in conducting an individual business, it was useless and its very existence was in doubt.
The respondent now argues that the loss was not proved, either to the petitioner or the corporation. All of the prior proceedings in the Bureau of Internal Revenue, so far as we can tell, and the deficiency letter giving rise to this proceeding, were based.upon the position of the respondent that there was an admitted loss but that it was that of a corporation, not that of the petitioner. This position continued through the hearing at which counsel for the respondent stated:
The Commissioner’s position is that there was a corporation which sustained a loss.
The pleadings and the proof are, in our opinion, sufficient to prove the loss and that ,it was sustained by the petitioner.

&lt;Judgment will be entered for the petitioner.

